          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                       CRIMINAL CASE NO. 3:07cr287


UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                 vs.                      )            ORDER
                                          )            TO DISMISS
                                          )
PENNY CARVILLE.                           )
                                          )

     THIS MATTER is before the Court at the request of the United States

Attorney for the Western District of North Carolina to dismiss, without

prejudice, the captioned Bill of Indictment Pursuant to Rule 48(a) of the

Federal Rules of Criminal Procedure, and the Court has been informed

that the Defendant consents to such dismissal.

     IT IS, THEREFORE, ORDERED that the Government is granted

leave to dismiss the above-captioned matter and this case is DISMISSED

WITHOUT PREJUDICE.
                                      Signed: March 5, 2008




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